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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION



CORECO JA’QAN PEARSON,
VIKKI TOWNSEND
CONSIGLIO; GLORIA KAY
GODWIN; JAMES KENNETH
CARROLL; CAROLYN HALL
FISHER; CATHLEEN ALSTON
LATHAM; and BRIAN JAY VAN
GUNDY,

      Plaintiffs,
                                         CIVIL ACTION FILE
v.
                                         NO. 1:20-cv-4809-TCB
BRIAN KEMP; BRAD
RAFFENSPERGER; DAVID J.
WORLEY; REBECCA N.
SULLIVAN; MATTHEW
MASHBURN; and ANH LE,

      Defendants.



                                ORDER

     Plaintiffs have filed an emergency motion [6] for temporary

injunctive relief. In their motion, Plaintiffs seek an order directing

Defendants to allow Plaintiffs’ expert(s) to inspect the Dominion voting
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machines in Cobb, Gwinnett, and Cherokee Counties. The Court

conducted a Zoom hearing at 7:45 p.m. EST to consider Plaintiffs’

motion.

     During the hearing, Defendants’ counsel argued that the secretary

of state has no lawful authority over county election officials, citing

Jacobson v. Florida Secretary of State, 974 F.3d 1236, 1256–58 (11th

Cir. 2020). Plaintiffs’ counsel responded that Plaintiffs could amend

their complaint to add the elections officials in Cobb, Gwinnett, and

Cherokee Counties, thus obviating the issue of whether the proper

officials had been named as Defendants to this case.

     Defendants’ counsel also argued that allowing such forensic

inspections would pose substantial security and proprietary/trade secret

risks to Defendants. Plaintiffs’ counsel responded that Defendants’

concerns could be alleviated by an order from the Court (1) allowing

Defendants’ own expert(s) to participate in the requested inspections,

which would be video-recorded, and (2) directing the experts to provide

whatever information they obtain to the Court—and no one else—for an

in camera inspection.

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     After considering the parties’ email submissions today and the

arguments advanced at the Zoom hearing, it is hereby ORDERED,

ADJUDGED and DECREED as follows:

                                     1.

     Defendants shall have until Wednesday, December 2, at 5:00 p.m.

EST, to file a brief setting forth in detail the factual bases they have, if

any, against allowing the three forensic inspections. The brief should be

accompanied and supported by affidavit or other evidence, if

appropriate.

                                     2.

     Defendants are hereby ENJOINED and RESTRAINED from

altering, destroying, or erasing, or allowing the alteration, destruction,

or erasure of, any software or data on any Dominion voting machine in

Cobb, Gwinnett, and Cherokee Counties.

                                     3.

     Defendants are ORDERED to promptly produce to Plaintiffs a

copy of the contract between the State and Dominion.




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                                    4.

     This temporary restraining order shall remain in effect for ten

days, or until further order of the Court, whichever comes first.

     IT IS SO ORDERED this 29th day of November, 2020, at 10:10

p.m. EST.



                                  ____________________________________
                                  Timothy C. Batten, Sr.
                                  United States District Judge




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